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                IN THE UNITED STATES DISTRICT COURT FOR THE
                DISTRICT OF MASSACHUSETTS, WESTERN DIVISION

CANNA PROVISIONS, INC., GYASI                          No. 23-cv-30113
SELLERS, WISEACRE FARM, INC.,
VERANO HOLDINGS CORP.,

                     PLAINTIFFS,

        -against-


MERRICK GARLAND, IN HIS CAPACITY
AS ATTORNEY GENERAL OF THE UNITED
STATES,

                     DEFENDANT.


                    NOTICE OF REFUSAL TO CONSENT TO MAGISTRATE

       I, Michael Aleo, counsel for the plaintiffs, am submitting this Notice in accordance with

General Order 07-4, dated December 4, 2007, and as modified by General Order 09-3 (dated

March 3, 2009) and General Order 10-1 (dated February 2, 2010), to confirm that at least one

party does not consent to the Magistrate Judge’s jurisdiction.


 Date: February 13, 2024                          Respectfully submitted,
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 Attorneys for the Plaintiffs Canna Provisions,
 Inc., Gyasi Sellers, Wiseacre Farm, Inc., and
 Verano Holdings Corp.




                                  CERTIFICATE OF SERVICE

        I, Michael Aleo, certify that the foregoing document was served on all counsel of record
by filing the document with the electronic case filing system of the court. I hereby certify that I
have served all parties electronically or by another manner authorized by Federal Rule of Civil
Procedure 5(b)(2).

Date: February 13, 2024                                  /s/ Michael Aleo
                                                         ______________________________




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